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 7
                                   UNITED STATES DISTRICT COURT
 8
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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10                                                   )   Case No.: Cr.S-13-86-MCE
     United States of America,                       )
11                                                   )
                      Plaintiff,                     )   STIPULATION REGARDING
12                                                   )   EXCLUDABLE TIME PERIODS UNDER
           vs.                                       )
13
                                                         SPEEDY TRIAL ACT; ORDER
     Stormy Mollissa Avers, aka Stormey Myers        )
                                                     )
14                    Defendants                     )
                                                     )   DATE: December 10, 2015
15                                                   )   TIME: 9:00 a.m.
                                                     )   JUDGE: Hon. Morrison C. England, Jr
16                                                   )
                                                     )
17                                                   )
                                                     )
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19
                                              STIPULATION
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             Plaintiff United States of America, by and through its counsel of record, and defendant,
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     by and through her counsel of record, hereby stipulate as follows:
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             1.       By previous order, this matter was set for status conference on December 10,
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     2015.
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 1          2.       By this stipulation, defendant Stormy Avers now moves to continue the status

 2   conference until January 14, 2016 and to exclude time between December 10, 2015 and January

 3   14, 2016 under Local Code T4. Plaintiff does not oppose this request.

 4          3.       The parties agree and stipulate and request that the Court find the following:

 5          a.       The parties have agreed upon a resolution of the charges against the defendant.

 6          b.       The reasons for this continuance are to allow the United States Attorney’s Office

 7          additional time to obtain the needed Writ of Habeas Corpus ad Prosecuendum, since

 8          defendant is currently in state custody, and further, to finalize the plea agreement.

 9          c.       Based on the above-stated findings, the ends of justice served by continuing the

10   case as requested outweigh the interest of the public and the defendants in a trial within the

11   original date prescribed by the Speedy Trial Act.

12          d.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13   et seq., within which trial must commence, the time period of December 10, 2015 to January 14,

14   2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

15   T4] because it results from a continuance granted by the Court at defendant’s request on the basis

16   of the Court's finding that the ends of justice served by taking such action outweigh the best

17   interest of the public and the defendant in a speedy trial.

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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions

 2   of the Speedy Trial Act dictate that additional time periods are excludable from the period

 3   within which a trial must commence.

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 5   IT IS SO STIPULATED.

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     DATED:          December 14, 2015                      BENJAMIN B. WAGNER
10                                                          United States Attorney

11                                                          /s/ Matthew Morris
                                                            by Jan David Karowsky with
12                                                          Mr. Morris’s approval
13
                                                   by
14
                                                            Matthew Morris
                                                            Assistant U.S. Attorney
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16   DATED:          December 14, 2015                      JAN DAVID KAROWSKY
                                                            Attorney at Law
17                                                          A Professional Corporation

18                                                          /s/ Jan David Karowsky
19
                                                   by
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                                                            JAN DAVID KAROWSKY
                                                            Attorney for Defendant
21                                                          Stormy Avers

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 1                                                ORDER

 2          The Court, having received, read, and considered the stipulation of the parties, and good

 3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. It

 4   specifically finds that the failure to grant a continuance in this case would deny counsel

 5   reasonable time necessary for effective preparation, taking into account the exercise of due

 6   diligence. The Court further finds that the ends of justice to be served by granting the requested

 7   continuance outweigh the best interests of the public and defendant in a speedy trial. Time from

 8   the date of the parties stipulation, up to and including January 14, 2016, is excluded from

 9   computation of time within which the trial of this case must be commenced under the Speedy

10   Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) T4 (reasonable time for counsel to prepare).

11   It is further ordered that the December 10, 2015 status conference is continued until January 14,

12   2016 at 9:00 a.m.

13          IT IS SO ORDERED.

14   Dated: December 14, 2015

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